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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 ACUITY, A MUTUAL INSURANCE
 COMPANY,

               Plaintiff,

        v.

 RIVERDALE PACKAGING
 CORPORATION,

        Serve Registered Agent:
        William H. Nottke, Jr.
        11027 Chateau Chura Drive
        St. Louis, Missouri 63128

 and                                                  Case No.: 4:24-cv-01277

 LORA PROPERTY INVESTMENTS,
 LLC
      Serve Registered Agent:
      William H. Nottke, Jr.
      7301 Hazelwood Avenue
      Hazelwood, MO 63042

 and

 WOMBAT ACQUISITIONS LLC,

        Serve Registered Agent:
        Paracorp Incorporated
        2140 S Dupont Hwy
        Camden, Delaware, 19934

               Defendants.

             AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Acuity, a Mutual Insurance Company (“Acuity”), by and through its undersigned

counsel of record, pursuant to 28 U.S.C. § 2201, and for its Amended Complaint for Declaratory

Judgment states as follows:
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                                   Parties, Jurisdiction, & Venue

        1.      Plaintiff Acuity, a corporation, is a foreign insurance company authorized to

conduct business in Missouri.

        2.      Plaintiff Acuity is incorporated in the State of Wisconsin with its primary business

practice in Sheboygan, Wisconsin, such that it is a citizen of the State of Wisconsin.

        3.      Riverdale Packaging, a corporation, is incorporated in the State of Missouri, with

its primary business practice in St. Louis, Missouri, such that it is a citizen of the State of Missouri.

        4.      Lora Property is a limited liability company that is organized in the State of

Missouri, whose sole member, Bill Nottke, is a resident of Missouri, and whose primary business

practice is in St. Louis, Missouri, such that it is a citizen of the State of Missouri.

        5.      Wombat Acquisitions is a limited liability company that is organized in the State of

Delaware.

        6.      Upon information and belief, Wombat Acquisitions is headquartered in Raleigh,

North Carolina and its state of primary business practice is Missouri.

        7.      Upon information and belief, no members or sub-members of Wombat Acquisitions

are citizens of the state of Wisconsin.

        8.      This action is within the subject matter jurisdiction of this Court pursuant to

28 U.S.C. § 1332(a) because the matter in controversy exceeds $75,000, exclusive of interest and

costs and the action is between citizens of different states, in that: (1) Plaintiff Acuity is a citizen

of Wisconsin, (2) Defendant Riverdale Packaging is a citizen of Missouri, (3) Defendant Lora

Property is a citizen of Missouri, and (4) upon information and belief, no member of Defendant

Wombat Acquisitions is a citizen of Wisconsin.




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        9.      This action is within the subject matter jurisdiction of this Court pursuant to

28 U.S.C. § 2201(a) because this complaint seeks a judicial declaration of the rights, status, and

legal relations of and among the parties regarding a contract of insurance and because an actual

case and controversy of a justiciable nature exists among the parties.

        10.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to this dispute occurred within this federal judicial district.

        11.     Pursuant to 28 U.S.C. § 1391(2), venue is proper in the Eastern Division of the

Eastern District because a substantial part of the events or omissions giving rise to the claim

occurred in St. Louis City County, which is in that judicial venue.

                                   Facts Common to All Counts

        12.     Acuity issued Commercial Property Policy No. ZS1914, with effective dates of

September 20, 2023, to August 22, 2024, (“the Policy”) to insured to Riverdale Packaging.

        13.     The Policy listed Lora Property as an additional named insured.

        14.     Upon information and belief, Lora Property is a holding company for a building

located at 4501 Gustine Avenue, St. Louis, Missouri 63116 (the “Building”).

        15.     The Policy provided, among other things, property damage coverage for the

Building.

        16.     The Policy contains the following language:

                COMMON POLICY CONDITIONS

               All Coverage Parts included in the policy are subject to the following
        conditions.

                [...]




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            F. TRANSFER OF YOUR RIGHTS AND DUTIES UNDER THIS
       POLICY

              Your rights and duties under this policy may not be transferred without
       our written consent [...].

               [...]

       17.     On or about January 20, 2024, a portion of the roof of the Building collapsed due

to rain, causing damage to the structure.

       18.     On or about January 21, 2024, Riverdale Packaging reported the claim to Acuity,

which Acuity assigned the claim number SG6882 (the “Claim”).

       19.     Since that time, Acuity has worked with the owner of its named insured, Riverside

Packaging, to remediate and repair the property damage in accordance with the terms of the policy.

       20.     To date, Acuity has paid approximately $1,050,974.97 on the Claim, with a balance

of $128,159.30 remaining on the repair estimate.

       21.     On April 30, 2024, Acuity was notified by Riverdale Packaging that it would likely

be selling the Building.

       22.     On May 16, 2024, Lora Property and Wombat Acquisitions entered into an

Insurance Benefits Assignment Agreement (“Assignment Agreement”), effective June 11, 2024,

which purported to assign all rights, titles, and interests to the insurance benefits held by Riverdale

Packaging’s, including, the Policy and Claim, to Wombat Acquisitions.

       23.     Acuity did not provide verbal or written consent to the Assignment Agreement.

       24.     On information and belief, Wombat Acquisitions is wholly owned subsidiary of All

States Equity Group.




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          25.   Beginning on or about June 15, 2024, a representative of All States Equity began

contacting Acuity directly about the claim.

          26.   The representative—who claimed Wombat now had the status of an insured by

virtue of the assignment—began making numerous demands under the policy, and threatening

Acuity with litigation.

          27.   All States Equity further stated that it had its own general contractor that would be

performing repairs associated with the Claim.

          28.   On August 3, 2024, Acuity received an appraisal demand from All States Equity in

the amount of $9,519,891.86.

                          COUNT I: DECLARATORY JUDGMENT

          29.   Plaintiff Acuity incorporates above paragraphs 1 through 28 as if fully set forth

herein.

          30.   Because Lora Property did not obtain prior written consent from Acuity for the

Assignment Agreement, that agreement was executed in violation of a clear, unambiguous and

enforceable term of the Policy.

          31.   Because it constitutes a violation of the Policy, and because Acuity is not a party

thereto, the Assignment Agreement is void and unenforceable against Acuity.

          32.   Because the Assignment Agreement is void and unenforceable against Acuity,

Acuity owes no obligations, contractual or otherwise, to Wombat Acquisitions in connection with

the Claim.




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       WHEREFORE, Plaintiff Acuity respectfully requests this Court’s judgment in favor of

Acuity and against all defendants on Count I of this Complaint for Declaratory Judgment, along

with the following declaration of this Court:

           (1) The purported assignment of rights and benefits under the Policy from Lora

               Property to Wombat Acquisitions, without Acuity’s prior approval, was a violation

               of a valid and enforceable term of the Policy;

           (2) The above-referenced policy language prohibiting unauthorized transfers of Policy

               rights is a valid and enforceable contract term;

           (3) Acuity does not owe, and has never owed Wombat Acquisitions any duties,

               contractual or otherwise, under the Policy, including any duties associated with the

               Claim; and

           (4) For such additional relief as the Court deems appropriate under these

               circumstances.



                                                Respectfully submitted,

                                                BAKER STERCHI COWDEN & RICE LLC

                                                  /s/ James R. Jarrow
                                                James R. Jarrow MO # 38686
                                                Michael W. Shunk MO # 43841
                                                Briana C. Cowell MO # 70926
                                                2400 Pershing Road, Suite 500
                                                Kansas City, Missouri 64108
                                                Tel: (816) 471-2121
                                                Fax: (816) 472-0288
                                                jarrow@bakersterchi.com
                                                mshunk@bakersterchi.com
                                                bcowell@bakersterchi.com

                                                ATTORNEYS FOR PLAINTIFF ACUITY,
                                                A MUTUAL INSURANCE COMPANY



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